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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                   §
                                                 §
         Plaintiffs,                             §
                                                 §
 v.                                              §   Civil Action No. 4:21-cv-01236-O
                                                 §
 LLOYD J. AUSTIN, III, et al.,                   §
                                                 §
                                                 §
         Defendants.                             §

                                            ORDER

         Before the Court is Defendants’ First Motion to Compel (ECF No. 191), filed August 18,

2022. Having reviewed the arguments raised in the Memorandum in Support of Defendants’ Motion

to Compel (ECF No. 192), filed August 18, 2022, the Court ORDERS Plaintiffs to file a response

to Defendants’ motion no later than September 2, 2022. Defendant’s reply must be submitted to the

Court no later than September 9, 2022.

         SO ORDERED this 19th day of August, 2022.



                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
